      Case 2:19-cv-00244-RAH-SRW Document 71 Filed 01/25/21 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


KENNETH BOLLING,                             )
                                             )
       Plaintiff,                            )
v.                                           )       CASE NO.       2:19-CV-00244-RAH-SRW
                                             )
CITY OF MONTGOMERY,                          )
                                             )
       Defendant.                            )


              PLAINTIFF’S RESPONSE TO DEFENDANT’S OBJECTIONS
                         TO PLAINTIFF’S WITNESS LIST

       COMES NOW the Plaintiff, Kenneth Bolling (hereinafter referred to as “Bolling” or

“Plaintiff”), by and through his undersigned attorneys, and pursuant to this Court’s Scheduling

Order (Doc 58), files the following Response to Defendant’s Objections to Plaintiff’s Witness List:

       The Defendant objects to the following witnesses asserting each was not identified

       earlier by the Plaintiff: Witnesses 9, 10, 21, 22, and Witnesses 13 through 17.

       Plaintiff asserts each of the witnesses listed above is known to the Defendant as each is a

present or former employee of the Defendant, City of Montgomery, and with first-hand knowledge

of the facts asserted in Plaintiff’s Complaint, including Plaintiff’s “constructive discharge” and

resulting damages.

       Witness 9, Martha Earnhardt was employed by the City as the assistant to the Director

of Public Safety, Ronald Sams. Martha Earnhardt and her knowledge and information was

addressed by counsel and by Director Ronald Sams at his deposition on December 11, 2019.

       The testimony of witnesses 10, 13-17, and 21 and 22 (present or former employees of the

City) will be offered in support of Mr. Bolling’s claim of “constructive discharge” by the City.

As present and former employees of the City, the City and counsel have had access to, and the
      Case 2:19-cv-00244-RAH-SRW Document 71 Filed 01/25/21 Page 2 of 3




opportunity to interview, each City employee and witness now objected to. The City will not

suffer hardship or undue prejudice by the testimony of its own employees at trial.

       In addition, each witness objected to by the City is also named by the Plaintiff for the

purpose of authentication, rebuttal and/or impeachment as allowed by Federal rule. Plaintiff

reserves the right to amend this list of witnesses as necessary.

                                              Respectfully submitted,

                                              /s/ K. David Sawyer
                                              K. David Sawyer
                                              K. David Sawyer
                                              516 S. Perry Street
                                              Montgomery, AL 36104
                                              Telephone: (334) 356-4301
                                              Facsimile: (334) 263-2321
                                              kdsawyer64@outlook.com
                                              Counsel for Plaintiff, Kenneth Bolling

                                              /s/ Julian L. McPhillips, Jr.
                                              JULIAN L. McPHILLIPS, JR.
                                              McPhillips Shinbaum, LLP
                                              516 S. Perry Street Montgomery, AL 36104
                                              Telephone: (334) 262-1911
                                              Facsimile: (334) 263-2321
                                              julianmcphillips@msg-lawfirm.com
                                              Counsel for Plaintiff, Kenneth Bolling
      Case 2:19-cv-00244-RAH-SRW Document 71 Filed 01/25/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that I have electronically served Plaintiff’s Response to Defendant’s Objection to

Plaintiff’s Witnesses on this 25th day of January, 2021, on the following:


Ashley N. Smith
Tamika Miller
445 Dexter Ave., Suite 4050
Montgomery, Alabama, 36104
(334) 625-6959 telephone
(334) 513-8686 facsimile
ashley@millersmithllc.com
tamika@millersmithllc.com




                                             /s/ K. David Sawyer
                                             K. David Sawyer
                                             Counsel for Plaintiff, Kenneth Bolling
